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Plaintiff,

VS.
CR. NO. 04-20137-B

G|LBERT CROCKETT,

Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFY!NG PER|OD OF EXCLUDABLE DELAY
AND SETTlNG

 

This cause came on for a report date on April 19, 2005. At that time, counsel for
the defendant requested a continuance ofthe lVlay 2, 2005 trial date in order to allow for
disposition of pending motions.

The Court granted the request and set a suppression hearing/report date of
Tuesday, l‘\/lay 17, 2005 at 9:00 a.m. The Court subsequently granted a l\/lotion for
Continuance and re-set a report date ofJune 23, 2005 at 2:00 Q.m., in Courtroom1 11th

 

Mof the Federal Building, Nlernphis, TN.

The period from April 19, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this [L<\ day of y, 2005.

B»\

J A |EL BREEN
NlT D STATES D|STR|CT JUDGE

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UNITED sTATE mle CoURT - WESTERN D's'TRCT oFTENNESSEE

 
 

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This notice confirms a copy of the document docketed as number 56 in
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Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

